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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                               MINUTES OF PROCEEDINGS

                                                       April 5, 2022
CAMDEN OFFICE                                          DATE OF PROCEEDINGS

JUDGE: ROBERT B. KUGLER

COURT REPORTER:          ANN MARIE MITCHELL

                                                       Docket # CR 1:19-716-1(RBK)
TITLE OF CASE:
UNITED STATES OF AMERICA
             vs.
STEVEN MONACO
           DEFENDANT PRESENT

APPEARANCE:
David Walk, AUSA, and Christina Hud, AUSA, for USA
Gerard Egan, Esq., for Defendant


NATURE OF PROCEEDINGS:            JURY SELECTION COMPLETED; JURY TRIAL

Trial w/jury continued before the Honorable Robert B. Kugler.
The Court continued voir dire of jury.
Voir dire of jury completed.
Number of Jurors: 12
Number of Alternates: 2
Number of Challenges: 35
Ordered jury sworn; jury sworn.
Preliminary instructions read by Court.
David Walk, AUSA, provided opening remarks for Government.
Gerard Egan, Esq., provided opening remarks for Defendant.


Ordered trial w/jury adjourned to April 6, 2022 at 9:00AM.


Time commenced: 9:20AM            Time Adjourned: 2:00PM          Total Time: 4:40

                                                             Lawrence MacStravic
                                                             DEPUTY CLERK
cc: Chambers
